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  1
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      Attorneys for Plaintiff
 12   U.S. EQUAL EMPLOYMENT
      OPPORTUNITY COMMISSION
 13
 14
 15                        UNITED STATES DISTRICT COURT
 16                     SOUTHERN DISTRICT OF CALIFORNIA
 17
      U.S. EQUAL EMPLOYMENT                       )   Case No: 17CV02436 BEN (NLS)
 18                                               )
      OPPORTUNITY COMMISSION,                     )
 19                                               )   JOINT MOTION TO APPEAR
                                Plaintiff,        )   TELEPHONICALLY FOR
 20                                               )
                                                  )   HEARING
 21         v.                                    )
                                                  )
 22                                               )   Date: January 18, 2018
      UNIVERSAL PROTECTION                        )   Time: 10:30 AM
 23                                               )
      SERVICE, LP,                                )   Courtoom 5A
 24                                               )
                                Defendant(s).     )   Hon. Roger T. Benitez
 25                                               )
                                                  )   U.S. District Judge
 26                                               )
                                                  )
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  1   To the Honorable Roger T. Benitez:
  2
  3         Plaintiff U.S. Equal Employment Opportunity Commission (“EEOC”) and
  4   Defendant Universal Protection Services, Inc. (“Defendant”) request that the
  5   following counsel be permitted to appear telephonically for the hearing regarding
  6   the proposed Consent Decree on January 18, 2018 at 10:30 AM. The listed counsel
  7   currently reside outside of San Diego, County and appearing in-person would pose
  8   a hardship in light of the recently rescheduled hearing.
  9
 10
            1. Anna Y. Park, Esq.
 11
               EEOC Regional Attorney
 12
               Attorney for Plainitff EEOC
 13
 14
            2. W. Brian Holladay, Esq.
 15
               Martenson, Hasbrouck & Simon, LLP
 16
               Attorney for Defendant Universal Protection Service, LP
 17
 18
 19            Defendant’s counsel Holladay had previously scheduled travel to
 20   California based on a hearing date of Wednesday, January 17, 2018. The recent
 21   continuance of the hearing to Thursday, January 18, 2018 will therefore impose
 22   additional travel costs on Defendant. EEOC Regional Attorney Anna Y. Park
 23   requests that she be available via telephone at the hearing in case the Court has
 24   questions concerning the proposed Consent Decree.
 25            Plaintiff EEOC counsel Connie K. Liem and Defendant’s local counsel
 26   Karimah J. Lamar intend to personally appear for the hearing.
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  3                                     Respectfully Submitted,
  4
                                        MARTENSON, HASBROUCK & SIMON,
  5                                     LLP
  6
      Dated: January 16, 2018           S/ W. Brian Holladay
  7                                     W. Brian Holladay, Esq.
  8                                     E-Mail: bholladay@martensonlaw.com
  9
                                        Attorney for Defendant Universal
 10                                     Protection Services, LP
 11
 12
 13                                     U.S. EQUAL EMPLOYMENT
                                        OPPORTUNITY COMMISSION
 14
 15
 16
      Dated: January 16, 2018           S/ Connie K. Liem
                                        Connie K. Liem, Esq.
 17                                     E-Mail: connie.liem@eeoc.goc
 18                                     EEOC Senior Trial Attorney
 19                                     Attorney for Plaintiff EEOC
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  1                        CERTIFICATE OF AUTHORIZED SIGNATURE
                                     AND ECF SERVICE
  2
  3         I am, and was at the time the herein mentioned service took place, a citizen
  4
      of the United States, over the age of eighteen (18) years. I am employed in the Legal
  5
      Unit of the Los Angeles District Office of the United States Equal Employment
  6
      Opportunity Commission. My business address is Equal Employment Opportunity
  7
      Commission, 555 W. Beech St., Suite 504, San Diego, CA. 92101.
  8
            I certify that the content of this document is acceptable to all persons required
  9
      to sign the document by obtaining authorization for the electronic signatures of all
 10
      the parties on the document. Moreover, on the date that this declaration was
 11
 12
      executed, as shown below, I served the foregoing JOINT MOTION TO APPEAR

 13   TELEPHONICALLY via the Court’s CM/ECF electronic filing service to the
 14   following:
 15                                   W. Brian Holladay, Esq.
                               E-Mail: bholladay@martensonlaw.com
 16
                                         Karimah J. Lamar
 17                              E-Mail: klamar@cdflaborlaw.com
 18
                      Attorneys for Defendant Universal Protection Service, LP
 19
 20
 21
 22
            I declare under penalty of perjury that the foregoing is true and correct.
 23
      Executed on January 16, 2018 at San Diego, California.
 24
 25
 26                                           S/Connie K. Liem
                                              Connie K. Liem
 27
 28




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